     Case: 1:17-cv-09260 Document #: 25 Filed: 12/28/20 Page 1 of 2 PageID #:130


                                                                                   FIL/2E8/2D020                SXB
                       UNITED STATES DISTRICT COURT
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                                                                              N
                                                                  AS G. BRUTO    RT
                       NORTHERN DISTRICT OF ILLINOIS CLERTKH,OUM.S. DISTRICT COU
                             EASTERN DIVISION
  CRYSTAL BAKER,                     )
                                     )
            Plaintiff,               )
                                     )
  v.                                 )
                                     )
  PIVOTAL HOME SOLUTIONS,            )
                                     )         Case No.: 1:17-CV-09260
            Defendant.               )
                                     )         Honorable Gary Feinerman
                                     )

Motion Of Continuous

I Crystal Baker am writing the court today representing myself asking the judge respectfully requests
that the court continue the matter set fourth on April 5 2018. The reason for this is because on
December 2017 I hired and paid a lawyer by the name of Justin Schwartz of The Law Office of Justin to
represent me. He filed a complaint on my behalf On December 25, 2017, against Defendant alleging sex
discrimination and harassment in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e, et.
seq. and the Illinois Human Rights Act, 775 ILCS 5/2-102, Sec. 5/2-101(E)(3), and intentional infliction of
emotional distress under Illinois law.

On February 14, 2018, Defendant filed its Motion to Dismiss Plaintiff’s Complaint and Compel
Arbitration or, In The Alternative, To Stay Litigation Pending Arbitration (“Motion”). The Lawyer did not
file a Response or otherwise object to Defendant’s. On April 5, 2018, the Court granted Defendant's
Motion and ordered Plaintiff to pursue my claims in arbitration pursuant to Defendant’s SHARE
Guidebook. The Court stayed the instant suit pending resolution of the arbitration. On October 19,
2018, the parties filed a Joint Status Report notifying the Court of Plaintiff’s intention to request and
begin scheduling the arbitration of my claims no later than the week of October 22, 2018.

Justin Schwartz did absolutely nothing, he lied to me over and over again. He never followed up with
me I had to contact him every time and he never followed up with the court regarding this matter
either. I signed a contract with this Lawyer and he took my money also took advantage of my situation.
This company owes me an arbitration because of emotional stress I’ve encountered over the years and
continue to go through until this day. I suffer from Depression, Anxiety, Panic Attacks and Auditory
Hallucinations because of this former employer. I have to take medication and speak with psychiatrist in
order to try to live some what of a normal life.

Any future employment is affected by this for the rest of my life as well. I don’t do anything in the Legal
Field so I know nothing about any type of legal matters and how they work, but I do know that I am
really trying my best to live a normal life and this lawyer took apiece of that away. I also would of did
     Case: 1:17-cv-09260 Document #: 25 Filed: 12/28/20 Page 2 of 2 PageID #:131




this much earlier but do to Covid 19 and my high risk pregnancy I was limited to what I could do.
Someone insisted that I seek legal services somewhere else so that’s what I did and they gave me free
legal advice. The lawyer was able to pull the Docket for me and told me the Lawyer (Justin Schwartz) did
absolutely nothing also instructed me on what I should.

All Im asking if you can overturn the judgment so I can have a Arbitration because As of the date of this
filing, the Defendant have not arbitrated my claims.


Crystal Baker
Cbaker2526@gmail.com
2708 Village Green Dr
 Apt.C4
Aurora IL 60504
(630)835-1596
